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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )     Civil Action No.
her parents and next friends, JANE            )     4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

  Declaration Of Chloe Cole In Support Of Plaintiffs’ Opposition to Defendants’
                       Motion For Preliminary Injunction.

      I, Chloe Cole, declare as follows:

      1.     I am 18 years and am not a party to this action. I have actual knowledge

of the following facts and if called upon to testify to them could and would do so

competently. I am submitting this Declaration in support of Defendants’ opposition

to Plaintiffs’ Motion for a Preliminary Injunction and Complaint.

      2.     Florida Administrative Code § 59G-1.050(7), which prohibits

Medicaid coverage for medical and surgical interventions meant to “alter primary or
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secondary sexual characteristics,” is a necessary and potentially life-saving

regulation that will protect vulnerable young people from the heartbreaking regret,

irreversible physical changes, and emotional pain that I have experienced.

      3.     Starting around the age of 12, I began to believe that I was transgender.

This belief was not organic. All the media I consumed as a kid showed me how

stupid and vulnerable being a girl was. All the sexualized images of women gave me

an unrealistic expectation of womanhood.

      4.     I spent a lot of time online and quickly saw all the praise coming out as

“trans” got on Instagram and other social media. I was a bit awkward in school and

had some trouble making friends.

      5.     Like many dysphoric children, I also suffered from a variety of mental

health conditions, such as ADHD, so I easily fell prey to the narrative that if I felt

different, and did not want to be a highly sexualized girl, that I must be a boy.

      6.     I obsessed over becoming a boy. I believed that all of my insecurities

and anxiety would magically disappear once I transitioned. The mental health

professionals did not try to dissuade me of this delusional belief.

      7.     I was fast-tracked into medical transition after I was diagnosed with

Gender dysphoria. In my home state of California, a child can pick their gender

identity and a care provider cannot question that choice because it would be regarded

as illegal conversion therapy. This wasn’t a misdiagnosis, it was mistreatment.


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      8.     I was diagnosed with gender dysphoria by a “gender specialist” when I

was 12. The gender specialist told my parents that children know their gender from

a young age, and I know what’s best for myself. The specialist cited the suicide rate

and said, “If you don’t affirm your child she will commit suicide.” The specialist

asked them, if they would they rather have a “dead daughter or live son.” My parents

complied because they were not offered any other treatment solution for my distress.

My distraught parents wanted me alive, so they listened to my doctors.

      9.     I started receiving puberty blockers at age 13. A month later I was put

on testosterone. I stayed on puberty blockers for a year and on testosterone for three

years. At the time I received the hormones, the endocrinologist cited some of the

risks, including vaginal atrophy and inability to have children. However, I did not

really understand what that would mean and didn’t realize that could involve other

pelvic structures. I was in 8th grade. I had no concept of what it would someday

mean to me as an adult to have children. I cannot imagine a doctor asking a child

this and expecting them to make a mature judgment.

      10.    While taking the hormones I began having severe hot flashes, like

women in menopause. My entire body got very itchy. After a while I would

sometimes hear loud cracks in my neck and back.

      11.    The hormones caused atrophy of my urinary track. I suffered from

urinary track infections and blood clots in my urine. I did not want to discontinue


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testosterone because I wanted to continue to be treated as a boy. I also developed

digestive problems.

      12.    I also experienced a very heightened libido which was very difficult to

deal with at such a young age. This caused me to make a lot of regrettable sexual

decisions.

      13.    The treatments seemed to worsen my mental health the longer I was on

them. My anxiety got worse, and I became prone to making rash and regrettable

decisions. And as discussed below, I also became suicidal.

      14.    I was approved for a double mastectomy at 15. I had been binding my

breasts for about two years. I had been groped by a classmate in 8th grade and wanted

to make sure that did not happen again. From the time I began seeking a mastectomy

to having my breasts removed was only six months. There was no psychological

evaluation. I was simply referred to a surgeon by a gender specialist.

      15.    During the surgery, the nerve endings and blood vessels in my breast

tissue were severed and my nipples were removed and grafted onto another part of

my chest to make my chest appear more masculine. So I will not have normal

sensation.

      16.    I have had serious complications from the surgery. After 2 years the

skin at the surgical site started to regress and the top layer of skin is failing to heal.




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The tissue continually emits fluid, such that I have to wear bandages. I was given

the impression that the grafts would heal in nine months, but that is not true.

      17.    The surgery has also affected me mentally as I am really struggling with

the fact that I will not be able to breast feed my future children. I was told about this,

but no teenager is able to grasp what that means.

      18.    About 11 months after my surgery I began experiencing grief. I realized

this was a mistake, that I had lost a part of my body that will mean that I will not be

able to bond in an important way with any future children and might not be able to

even have children.

      19.    I started to become suicidal for the first time. I was not suicidal prior to

the treatments. I was beginning to feel growing alienation. I began to experience

increasing suicidal thoughts. Although I did not act on them, they were taking a toll

on me.

      20.    I broke down one night as it all came to a head and made the decision

to stop the testosterone. I also dropped the male identification and began to identify

again as a female.

      21.    At first some things got worse as I had more UTIs, more blood clots in

my urine, and worse digestive issues. I was very emotionally volatile, and my

suicidal ideation got worse. I became very sick and lost a lot of weight. My overall




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mental health got worse. I had to drop out of school and get a GED because I couldn’t

perform at school.

         22.   Over time my body began to readjust. My features resoftened. The fat

in my body and body shape began to return to a female form and I have regained the

weight.

         23.   Currently my mental health is stable. The treatments were just band aids

for my mental health issues. I still struggle, but my depression and anxiety have

improved.

         24.   At no point in my journey did anyone explore why I did not want to be

girl.

         25.   More and more kids are falling for the false promise of happiness if

they transition. Gender clinics in the United States are turning a blind eye to

European countries, who are pumping the brakes on this experiment on youth.

         26.   Fortunately, Florida regulators are not turning a blind eye. Enacting the

regulation that bans Medicaid payment for these treatments is an important step in

the state doing no harm to its citizens through these treatments. It should not have

been an option for me to be prescribed hormone treatments that caused me harm and

may have affected my fertility, or to have my healthy breasts removed at the age of

15. This regulation will help decrease the chance that it will be an option for




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vulnerable teenage girls in Florida. Taxpayer money should not go toward paying

for child mutilation and child sterilization.

      27.    Even for adults, these treatments are at best cosmetic. They do not

enhance function, but actually take away functions from the body. They are elective.

The state should not be paying for treatments that actually remove or distort normal

bodily functions, and yet do not bring long-term relief.

      I declare under penalty of perjury that the foregoing is true and corrected.

      Executed on October 3, 2022.

                                                    /s/ Chloe Cole
                                                    Chloe Cole




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